IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION . Lo

CRIMINAL NO.: 3:20cr289 ©

UNITED STATES OF AMERICA
CONSENT ORDER AND

Vv. JUDGMENT OF FORFEITURE

BOBBY RAY TRAMMEL, JR.

BASED UPON the Defendant’s plea of guilty and finding. that there is a nexus between .
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the property, IT IS HEREBY ORDERED THAT:

1, The following property is forfeited to the United States pursuant to 18 U.S.C. 3
2253 and/or 28 U.S.C. § 2461 (c), provided, however, that forfeiture of specific assets is subject to
any and all third party petitions under 21 U.S.C, § 853(n), pending final adjudication herein:

One Seagate Hard Drive serial number 9VV96KPC seized from Defendant on July
23, 2020; and

One ACER Desktop serial number PSVD70300214004BE09200 seized from
Defendant on July 23, 2020.

2. The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

3. If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C. § 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

4, Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

3. Pursuant to Fed, R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

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6. As to any specific assets, following the Court’s disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P. 32,2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

The parties stipulate and agree that the aforementioned asset(s) constitute property used in
any manner to facilitate the commission of such offense(s) and are therefore subject to forfeiture
pursuant to 18 U.S.C. § 2253 and/or 28 U.S.C. § 2461(c). The Defendant hereby waives the
requirements of Fed, R. Crim. P. 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the
judgment against Defendant, If the Defendant has previously submitted a claim in response to an
administrative forfeiture proceeding regarding any of this property, Defendant hereby withdraws
that claim. If Defendant has not previously submitted such a claim, Defendant hereby waives all
right to do so. As to any firearms listed above and/or in the charging instrument, Defendant
consents to destruction by federal, state, or local law enforcement authorities upon such. legal
process as they , in their sole discretion deem to legally sufficient, and waives any and all right to
further notice of such process or such destruction,

R. ANDREW MURRAY
UNITED STATES ATTORNEY

te Lila Cts ROSA BOBBY RAY TRAMMEL, JR.

Assistant United States Attorney Defendant

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CHRISTIAN EMERSON DYSERT, ESQ.
Attorney for Defendant

Signed this the & day of November, 2020.

 
   

UNITED STATES ” JUDGE

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